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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

 TED CHARLES RASMUSSON,                                           4:19-cv-00325-CRW-HCA

                    Plaintiff,

 vs.


 MONSANTO COMPANY, INC.,                               SCHEDULING AND TRIAL SETTING
                                                                  ORDER

                   Defendant.




        A scheduling conference was conducted pursuant to Fed. R. Civ. P. 16 on May 6, 2020.

Based on the discussions during the conference and the parties’ proposed schedule, it is hereby

ordered:

        1.     A Jury Trial shall begin on April 4, 2022 or as soon thereafter as it can be reached
               at 9:00 AM before United States Senior Judge Charles R. Wolle at the United States
               Courthouse, Des Moines, Iowa. Trial is estimated to take twenty (20) days.

        2.     A Final Pretrial Conference shall be held on March 14, 2022 at 10:00 AM at the
               United States Courthouse, Des Moines, Iowa, before Chief Magistrate Judge Helen
               C. Adams.

        3.     Initial Disclosures shall be made by May 25, 2020.

        4.     Motions to add parties shall be filed by June 25, 2020.

        5.     Motions for leave to amend pleadings shall be filed by June 25, 2020.

        6.     Plaintiff shall designate expert witnesses and disclose their written reports by
               December 11, 2020.

        7.     Defendant shall designate expert witnesses and disclose their written reports by
               February 12, 2021.

        8.     Plaintiff shall designate rebuttal expert witnesses and disclose their written reports
               by March 12, 2021.
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 9.    Discovery shall be completed by April 16, 2021. Written discovery shall be
       propounded so that the time for response is not later than this date.

 10.   Dispositive motions shall be filed by August 13, 2021.

       IT IS SO ORDERED.

       Dated May 6, 2020.




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